      Case 5:04-cv-00297-SPM-AK Document 7 Filed 05/10/05 Page 1 of 2




                                                                            Page 1 of 2


                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF FLORIDA
                          PANAMA CITY DIVISION

CINDA ASTERS,

              Petitioner,

vs.                                                CASE NO.: 5:04cv297-SPM/AK

BUREAU OF PRISONS,

           Respondent.
______________________________/


                                      ORDER

        This cause comes before the Court for consideration of the Magistrate

Judge’s Report and Recommendation (doc. 6) dated March 30, 2005. Petitioner

has been furnished a copy and afforded an opportunity to file objections pursuant

to Title 28, United States Code, Section 636(b)(1). No objections have been filed.

Having considered the report and recommendation, I have determined that the

report and recommendation should be adopted.

        Accordingly, it is hereby ORDERED as follows:

        1.     The magistrate judge’s report and recommendation (doc. 6) is

ADOPTED and incorporated by reference in this order.

        2.    The amended petition for writ of habeas corpus is denied for failure to
    Case 5:04-cv-00297-SPM-AK Document 7 Filed 05/10/05 Page 2 of 2




                                                                            Page 2 of 2


exhaust administrative remedies. The denial is without prejudice to Petitioner’s

opportunity to file a new petition after exhausting her administrative remedies.

        DONE AND ORDERED this 10th day of May, 2005.


                                     s/ Stephan P. Mickle
                                  Stephan P. Mickle
                                  United States District Judge




CASE NO.: 5:04cv297-SPM/AK
